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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                               NO. CR09-81-MJP

 9                                    Plaintiff,

10             v.                                            SUMMARY REPORT OF
                                                             U.S. MAGISTRATE JUDGE AS
11
     GILBERT MOSES, JR.,                                     TO ALLEGED VIOLATIONS
12                                                           OF SUPERVISED RELEASE
                                      Defendant.
13

14             An initial hearing on a petition for violation of supervised release was held before the

15   undersigned Magistrate Judge on May 21, 2012. The United States was represented by

16   Assistant United States Attorney Justin Arnold for Ye-Ting Woo, and the defendant by Lee

17   Covell.

18             The defendant had been charged with Assault Resulting in Serious Bodily Injury, in

19   violation of 18 U.S.C. §§ 2, 113(a)(6), 1151(a), and 1153. On or about September 22, 2009,

20   defendant was sentenced by the Honorable Marsha J. Pechman to a term of 37 months in

21   custody, to be followed by 3 years of supervised release.

22             The conditions of supervised release included the requirements that the defendant

23   comply with all local, state, and federal laws, and with the standard conditions. Special

24   conditions imposed included, but were not limited to, participation in substance abuse and

25   mental health programs, financial disclosure, search, prohibiting from entering any

26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
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 1   establishment where alcohol is the primary commodity, prohibition from drinking alcohol, and

 2   participation in mental health treatment in include the Moral Reconation Therapy Program.

 3          In a Petition for Warrant or Summons dated May 16, 2012, U.S. Probation Officer

 4   Angela M. McGlynn asserted the following violation by defendant of the conditions of his

 5   supervised release:

 6          1.      Consuming alcohol on or before May 13, 2012, in violation of the special
                    condition that prohibits the defendant from consuming alcohol.
 7
            The defendant was advised of his rights, acknowledged those rights, and admitted to
 8
     violation 1.
 9
            I therefore recommend that the Court find the defendant to have violated the terms and
10
     conditions of his supervised release as to violation 1, and that the Court conduct a hearing
11
     limited to disposition. A disposition hearing on this violation has been set before the
12
     Honorable Marsha J. Pechman on June 5, 2012 at 11:00 a.m.
13
            Pending a final determination by the Court, the defendant has been detained.
14
            DATED this 21st day of May, 2012.
15

16

17
                                                   A
                                                   JAMES P. DONOHUE
                                                   United States Magistrate Judge
18

19
     cc:    District Judge:                Honorable Marsha J. Pechman
20          AUSA:                          Ye-Ting Woo
            Defendant’s attorney:          Lee Covell
21          Probation officer:             Angela M. McGlynn
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
